                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

TRACY HEYDER,                             )
                                          )
     Plaintiff,                           )
                                          )
     V.                                   )         Case No.
                                          )
           LP,
GC SERVICES,                              )
                                          )
     Defendant.                            )



                              PLAINTIFF'S COMPLAINT

      plaintiff, TRACY HEYDER (.,plaintiff'), throughhis attorneys,McNulty & Associates,

PLLC,allegesthe fotlowing againstDefendant,GC SERVICES,LP ("Defendant"):

                                  INTRODUCTION

                                                                  Act 15U.S.C.1692,et
   1. plaintiff s Complaintis basedontheFairDebtCollectionPractices

      seq.("FDCPA").

                              JURISDICTION AND VENUE

                                                                  of theFDCPA'
   2. ThisCourthasjurisdictionunder28 U.S.C.$1331and15U'S'C' $1692k
                                                                                that such
   3. Jurisdictionof this court arisespursuantto 15 U.S.C.1692k(d),r,vhichstates
                                               ooany
                                                   appropriateUnited Statesdistrict court
      actionsmay be broughtand heardbefore

      without regardto the amountin controversy'"
                                                                       Defendantdoesor
   4. Venue and personaljurisdiction in this District are proper because
                                                                                    occurred
               businesswithin this District,anda materialportionof theeventsat issue
       transacts

       in this District.




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                                      PARTIES

5. Plaintiff is a natural pe(son residing in CumberlandFumace,MontgomeryCounty,

   Tennessee.

6. Plaintiff is a consumerasthat term is definedby I 5 u.s.c. 1692a(3).

7. Plaintiff allegedlyowesa debtasthatterm is definedby I5 U.S.C.1692a(5).

8. Defendantis a debtcollectorasthat term is definedby 15 U.S.C-1692a(6)

g. Within one (1) year of Plaintiff filing this Complaint,Defendantattemptedto collecta

   consumerdebtfrom Plaintiff.

                                                                in Houston,Harris
10.Defendantis a DelawareLimited Partnershipwith its headquarters

    County,Texas. ,SeeDefendant'sAnswer,DocumentNo. 8, n12,2:13-cv-11710-MOB-

    RSW.

ll.Defendant's businessincludes,but is not limited to, collectingon unpaid,outstanding

    accountbalances.
                                                                       a file number.
 12.Whenanunpaid,outstandingaccountis placedwith Defendantit is assigned

 13.Theprincipalpurposeof Defendant'sbusinessis the collectionof debtsallegedlyowedto

    third parties.
                                                                                parties'
 14.Defendantregularlycollects,or attemptsto collect,debtsallegedlyowedto third

                             No. 8,t1l6,2:13-cv-117l0-MOB-RSW.
                Answer,Document
    seeDefendant's

 15.Duringthecourseof its attemptsto collectdebtsallegedlyowedto third parties'Defendant
                                                                  via themail andlor
                                          and/orothercorrespondence,
    sendsto allegeddebtorsbills, statements,
                                                                             means of
     electronic mail, and initiates contact with alleged debtors via various

                     suchasby telephoneandfacsimile.
     telecommunication,




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16.Defendantacted through its agents,employees,officers, members,directors,heirs,

            assigns,principals,trustees,sureties,subrogees,
   successors,                                                         andinsurers.
                                                         representatives,

                             FACTUAL ALLEGATIONS

17.Defendantis attemptingto collecta consumerdebtfrom Plaintiff regardinga Chasecredit

   card,accountnumberendingin 8915,Defendant'sfile number0129643("Account").

18.The allegeddebtowedon the Accountarisesfrom transactionsfor personal,family, and

   householdpurposes.

                                               with Plaintiff regardingtheAccounton
19.Defendant'scollector,T. Fontenot,communicated

   or aboutJuly 4, 2073.

20. Defendant'scollector,T. Fontenot,reviewedtheletterdatedJuly 4, 2013,prior to it being

   mailedto Plaintiff.

21.Defendant'scollector,T. Fontenot,wasworkingwithin thescopeof his or heremployment

                           with Plaintiff in an attemptto collecton the Account.
   whenhe or shecommunicated

22.Defendant'scollector,Linda Garson,calledPlaintiff rt 93l-387-32xx in an attemptto

    collecton the Account.

23. Within one(1) yearof Plaintiff filing this Complaint,Defendant'scollector,LindaGarson,

               with Plaintiff in an attemptto collecton the Account'
    communicated
                                                                                       a
24. Within one (1) year of Plaintiff filing this Complaint,Linda Garson,left Plaintiff

                   regardingthe Account.
    voicemailmessage

 25.Defendant'scollector,Linda Garson,left the following voicemailmessagefor Plaintiff,
                                                                              you
    o.Thismessageis for TracyHeyder. My nameis Linda Garson. I would appreciate

                                                  andmy extensionis 3750."
    callingme back. you caneachme at 1-866-862-2793,




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26. Defendant'scollector,Linda Garson,was working within the scopeof her employment

   whenshecommunicatedwith Plaintiff in an attemptto collect a debt.

                     for Plaintiff doesnot statethat the call is from GC Services,LP.
2T.LndaGarson'smessage

2S.LindaGarson'smessagefor Plaintiff doesnot statethaffi     Ms. Garsonis attemptingto
                                                        f

   collecta debt.

2g.LindaGarsonis familiar with the FDCPA.

30.Linda Garsonknowsthe FDCPA requiresdebtcollectorsto identifuthe company'sname

   whenplacinga telePhonecall.
                                                                            is
31.LindaGarsonknowstheFDCPArequiresdebtcollectorsto statethatthecommunication

                                                a voicemailmessage.
    anattemptto collecta debtwhenleavingconsumers

               numberof 866-862-2793is oneof Defendant'stelephonenumbers.
 32.Thetelephone

33.Defendantmaintaineda Call Detail SearchregardingPlaintiff s Account.

 34.Defendantmaintainedan AccountDetailListingregardingPlaintiff s Account.
                                                                              be liable to
 35.Defendantmaintainsan insurancepolicy with CNA underwhich CNA may

    satisff all or part of a possiblejudgmentin this actionor to indemniff or reimbursefor

    paymentsmadeto satisfrthejudgment.
                                                                               the
 36.Defendantrecordedall of its telephonecommunicationswith Plaintiff regarding

    Account.

                                                      with third partiesregardingthe
 37.Defendantrecordedall of its telephonecommunications

    Account.

                                 audiorecordingsmadein connectionwith Defendant's
 3g.Defendanthas in its possession

     effortsto collectthe debtat issuein this matter'




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39.In the normalcourseof business,Defendantdoesnot retaincopiesof the actuallettersit

   sendsto variousdebtors.

40. Here,Defendantdid not retaincopiesof the actuallettersit sentto Plaintiff regardingthe

   Account.

                                              Groupfor Defendant,hasdiscoverable
41. PaulGrover,Vice Presidentof ClientManagement

   informationregardingthe day-to-daybusinessactivitiesandfunctionsof Defendant.

42. Specifically,Paul GroverhasinformationregardingDefendant'spoliciesandprocedures

                                                       andfor third parties.
                            Defendantleavesfor consumers
   regardingvoicemailmessages

43. Additionally,Paul GroverhasinformationregardingDefendant'santicipatedaffirmative

    defenses.
                                                                        bonafideerror
44. Specifically,paul GroverhasinformationregardingDefendant'santicipated

    defense.

45.per the nationwidepACER records,Defendanthasdefendedapproximatelytwo-hundred

    (200) lawsuitsthroughoutthe nationin the last yearprior to the datePlaintiff filed this

    Complaint.

                                                                     pleadaBonaFideError
 46. Within one(l) yearof plaintiff filing this Complaint,Defendanthas

    AffirmativeDefensein everyAnswerit filed in an FDCPAcase.

 47.Inthelast three(3) years,Defendanthashad2Tl complaintsfiled againstit with theBetter

    BusinessBureau.

 4g.Defendanthas a patternand practiceof not complyingwith the FDCPA when it leaves

                    for consumers.
    voicemailmessages
                                                                                  in
 49.Defendantdid not complywith theFDCPAwhenit left theplaintiff a voicemailmessage




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                         Darci Ravenscraft
   CaseNumber2:13-cv-11710,                          LP.
                                        v. GC Services,

                                                                                 in
50.Defendantdid not complywith theFDCPAwhenit left theplaintiff a voicemailmessage

                         ManricoLollie v GC Senices,LP.
   CaseNumber2:12-cv-02637,

                                                                                 in
51.Defendantdid not complywith theFDCPAwhenit left theplaintiff a voicemailmessage

                                                  LP.
                         DanielLambethv.GC Services,
   CaseNumber1:13-cv-00084,

                                                                                 in
52.Defendantdid not complywith theFDCPAwhenit left theplaintiff a voicemailmessage

                                                    LP.
                         MordechaiPinsonv.GC Services,
   CaseNumber1:13-cv-03570,

                                                                                 in
53.Defendantdid not complywith theFDCPAwhenit left theplaintiff a voicemailmessage

                                                LP'
                         LanaBabcockv.GC Services,
   CaseNumber5:13-cv-06093,

                                                                                 in
54.Defendantdid not complywith theFDCPAwhenit left theplaintiff a voicemailmessage

                                                  LP'
                         SheilaPratt v' GC Services,
   CaseNumber3:13-cv-00510,
                                                                                 in
55.Defendantdid not complywith theFDCPAwhenit left theplaintiff a voicemailmessage

                                                   LP'
                          ThomasLaile v. GC Services,
    CaseNumber4:13-cv-00199,
                                                                                 in
56.Defendantdid not complywith theFDCPAwhenit left theplaintiff a voicemailmessage

                                                      LP'
    CaseNumber4:13-cv-13744,TamaraTraversv. GC Services,

                          COUNT I
 DEFENDANT VIOLATED THE F'AIR DEBT COLLECTION PRACTICES ACT

 57.Defendantviolatedthe FDCPAbasedon the following:

       a. DefendantviolatedS16g2dof the FDCPAby engagingin conductthat thenatural

                     of which was to harass,oppress,and abusePlaintiff in connection
           consequences

           with the collectionof an allegeddebt;

       b. DefendantviolatedSI6g2d(6)of the FDCPA by placingtelephonecalls without

           meaningfuldisclosureof the caller's identity when Defendant'scollector,Linda




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            Garson,left Plaintiff a messagethat failed to statethat call was from GC Services,

            LP.

            Defendantviolated $1692e of the FDCPA by using false, deceptive,or misleading

            representationsor meansin connectionwith the collection of a debt;

         d. Defendant violated 51692e(10) of the FDCPA by using false representationor

              deceptivemeansin connectionwith the collection the alleged debt; and

         e. Defendant violated $1692e(11)of the FDCPA when Defendant's collector, Linda

              Garson,left Plaintiff a voicemail messagethat did not statethe communicationwas

              an attemptto collecta debt.

      WHEREFORE,Plaintiff, TRACY HEYDER, respecttullyrequestsjudgmentbe entered

againstDefendant,GC SERVICES,LP, for the following:

   58.Statutorydamagesof $1,000.00pursuantto the Fair Debt CollectionPracticesAct, 15

      u.s.c.t692k.
                       attomeys'feespursuantto the Fair DebtCollectionPracticesAct, 15
   59.Costsandreasonable

      u.s.c. 1692k.
                                            appropriate.
                                   courtdeems
   60.AnvotherreliefthatthisHonorable

                                    RESPECTFULLYSUBMITTED,




 srpt"^a"rff,zotz
         t3                                                         PLLC
                                            McNulty & Associates,
                                            211PrintersAlleY,Suite400
                                            Nashville,TN 37201
                                            Michael@McNultyAs               com
                                                                   sociatesTN.
                                            Tel:615-829-8250
                                            Attorney for Plaintiff



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